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                           UNITED STATES DISTRICT COURT
                             SOUTHERN OHIO DISTRICT
                                EASTERN DIVISION



UNITED STATES OF AMERICA,

                       Plaintiff,

v.                                                             CASE NO.: 2:14-CR-21
                                                               JUDGE GEORGE C. SMITH

ALLEN J. PENDERGRASS,

                       Defendant.


                                              ORDER

        This matter is before the Court on Defendant’s Pro Se Motion for release to a Residential

Reentry Center or Halfway House to allow for a successful transition back into the community and

family life. (See Doc. 44). The Government has not responded. This matter is ripe for review.

        Defendant is seeking a ruling from this Court that he be designated to a residential reentry

center to served the remaining nine months of his federal sentence. However, Congress has

delegated to the Bureau of Prisons the duty to manage and regulate all federal and correctional

institutions.   See 18 U.S.C. § 4042(a)(1). Further, 18 U.S.C. § 3621 specifically governs

imprisonment of a convicted person, including where a person is placed to serve the term of

imprisonment. Further, 18 U.S.C. § 3624(c)(1) provides that “[t]he Director of the Bureau of

Prisons shall, to the extent practicable, ensure that a prisoner serving a term of imprisonment spends

a portion of the final months of that term (not to exceed 12 months), under conditions that will afford

that prisoner a reasonable opportunity to adjust to and prepare for the reentry of that prisoner into

the community. Such conditions may include a community correctional facility.”

        Defendant’s current release date from the Bureau of Prisons is August 12, 2017. The Bureau
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of Prisons may release him to a residential reentry facility, but there is no requirement that they do

so. Further, any authority to be released to such a facility lies solely with the Bureau of Prisons.

This Court does not have any jurisdiction on the Bureau of Prisons’ management of convicted

persons in their custody.

       Based on the foregoing, Defendant’s Motion is hereby DENIED because this Court is

without jurisdiction to order any such relief requested. The Bureau of Prisons is responsible for

where Defendant serves the term of imprisonment ordered by this Court.


               IT IS SO ORDERED.

                                                       /s/ George C. Smith
                                                       GEORGE C. SMITH, JUDGE
                                                       UNITED STATES DISTRICT COURT




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